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AO 91 (Rev. 02/09) Criminal Complaint

 

UNITED STATES DISTRICT COURT
for the
Southern District of Texas

AUG 23 21g

ia

David J. Bradley, Clarity

 

United States of America )
v. ) |
Miguel Angel CASTILLO )  CaseNo. AL F- TIIBP4
DOB: 1998 )
Citizenship: United States )
Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of 08/28/2018 in the county of Hidalgo in the Southern _ District of

Texas , the defendant violated 8/18 U.S.C.§ 1324 / 922(g}(1)
, an offense described as follows:

 

- Knowing or in reckless disregard of the fact that an alien has come to, entered, or remains in the United States in
violation of law, conceals, harbors, or shields from detection, or attempts to conceal, harbor, or shield from detection,
such alien in any place, including any building or any means of transportation

- Knowingly and unlawfully, being a person convicted in any court of, a.crime punishable by imprisonment for a term
exceeding one year, to ship or transport in interstate or foreign commerce, or possess in or affecting commerce, any
firearm or ammunition; or to receive any firearm or ammunition which has been shipped or transported in interstate or

foreign commerce, one (1) Sundance Industries .25 caliber pistol, and one (1) WesternField 12 gauge pump-action
_ shotgun

This criminal complaint is based on these facts:
See Attachment"A"

a Continued on the attached sheet.

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Cc omplainang ’s signature

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Javier R. Salinas Jr., HSI Special Agent

 

Printed name and title

Sworn to before me and signed in my presence.

Date: 3 A} A 2s LVF . (0% e Qe 7
3s- ‘4 a Soames, . Judge ’s signature L

City and state: McAllen, Texas Peter E. Ormsby, U.S. Magistrate Judge

 

 

Printed name and title
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ATTACHMENT A

On Thursday August 15, 2019 Homeland Security Investigations (HSI Special Agent
(SA) J.R. Salinas initiated an investigation into Miguel Angel CASTILLO after information was
received from the Donna Police Department (PD) regarding two Undocumented Aliens (UDAs)
who were located at the Don Wes Motel. Both UDAs were found to have been held against their

will by two (2) juveniles at the direction of Alien Smuggling Organization (ASO) declared leader
CASTILLO. .

During the investigation your affiant learned that CASTILLO picked up both UDAs,
Johanfer Yanes Garcia and Amner Campos (Guatemalan nationals), on August 1, 2019 from the
Wal-Mart in Rio Grande City, Texas after both UDAs crossed illegally from Mexico into the
United States. CASTILLO blindfolded both UDAs and took them to a location near Melchor
Ocampo Dr and Viejo Dr in Donna, Texas. Both UDAs were held at this location for a number
of days while being told they were to pay additional money into an IBC bank account belonging
to an Alexandra CARRIZALES or they would be killed. Campos did not send extra money at
this time though Garcia’s family sent an additional $6,100 US Dollars (USD) into the bank
account at the demands of CASTILLO. CASTILLO harbored the UDAs in his home that he
shares with his wife and young child. |

On August 15, 2019 CASTILLO moved both UDAs from his home to the Don Wes
Motel. CASTILLO arrived in his silver Chevrolet HHR to register and pay for the room. The
juveniles were left in charge of the UDAs. During the early hours of the morning both juveniles
fell asleep at which time the UDAs were able to utilize a phone to call 911 emergency services.

After Donna PD responded to the scene both UDAs were interviewed and advised they
were smuggled illegally into the US by way of Mexico. Both stated they paid $4,000 in Mexico
up front and were told they would be taken to their arranged destinations once in the US. Once
in the US they met CASTILLO. CASTILLO then took both UDAs hostage and demanded more
money while threatening their lives with a handgun. During the investigation by the Donna PD
both UDAs were shown photo lineups in which they identified CASTILLO as their transporter
and person who harbored them in the US.

Both UDAs noted that CASTILLO was always in possession of a handgun, and that he
also possessed a rifle which they observed when CASTILLO fired off a single round around the
time of August 10, 2019.

Your affiant knows from his investigation that CASTILLO’s Facebook page is named
“E] Miguelioo” and isan open account visible to the public. Your affiant knows that on the
afternoon / evening of August 21, 2019 and the early morning of August 22, 2019, CASTILLO
was posting onto his “story” on Facebook which was visible to the public. Your affiant knows
that CASTILLO posted a Facebook story in which CASTILLO was recording himself in a
Chevrolet vehicle, believed to be the Chevrolet HHR belonging to CASTILLO. CASTILLO
additionally posted a video in which he was driving the vehicle and recording a passenger
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smoking a substance. During the video your affiant observed CASTILLO, wearing what
appeared to be the same clothes he was later located in, displaying a firearm on his lap. The

firearm was a small handgun, appearing to be a .25 caliber pistol. The pistol was stainless steel
with black grips.

On the morning of August 22, 2019 your affiant was contacted with information
regarding the whereabouts of CASTILLO. Your affiant was able to obtain information that
suggested CASTILLO was staying at his cousin Angel CARRIZALES’s house at 6705 De La
Rosa Circle in Donna, Texas. Your affiant learned that the silver HHR belonging to CASTILLO
was to be parked in the rear of the home.

On the same date your affiant, along with other special agents and a task force officer,
arrived at the location and observed CASTILLO in the rear of the home near the silver HHR.
Agents converged on CASTILLO and were able to take him into custody without incident.

During this time agents learned from persons in the home that CASTILLO was staying in
the back bedroom of the trailer home. Another officer and your affiant located a 12 gauge
shotgun underneath the mattress belonging to CASTILLO. The chamber was closed and no
ammunition was inside. The homeowners advised the gun did not belong to them and that
CASTILLO was the only user of the room at this time and it would be his firearm.

Your affiant spoke to several persons on scene including. Your affiant advised all
subjects he had information regarding a small .25 caliber type firearm that CASTILLO was in
possession of. Your affiant then learned that CASTILLO had placed the firearm in the front seat

area of a broken-down black in color Tahoe in the front yard.

A .25 caliber Sundance Industries firearm was located on the driver side floorboard area
of the Tahoe. The gun was a stainless steel with black grip firearm that matched identically with
that of the handgun seen in the possession of CASTILLO on Facebook.

On June 29, 2017 CASTILLO was arrested for Smuggling Aliens, Transporting an alien
within the US for private financial gain. CASTILLO subsequently pled guilty and was convicted
and sentenced on November 11, 2017 to 21 months imprisonment and 3 years TSR in the
Southern District of Texas, McAllen. .

Your affiant knows at the time of the arrest CASTILLO was aware of his conviction
status and knows that CASTILLO is currently on Federal Probation for the offense. CASTILLO
also had a copy of his Federal Probation paperwork with his name on it in his wallet.
